                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

RONALD BERNARD,                                      )
                                                     )
               Plaintiff,                            )
                                                     )
vs.                                                  )   Case No. 2:19-cv-04043-NKL
                                                     )
KANSAS CITY LIFE INSURANCE CO.,                      )
                                                     )
               Defendant.                            )
                                                     )

                       KANSAS CITY LIFE INSURANCE CO.’S
              MOTION FOR SUMMARY JUDGMENT AND MOTION IN LIMINE

       COMES NOW Defendant Kansas City Life Insurance Co. (“Defendant”) and

hereby moves the Court to enter an Order granting summary judgment in its favor and

against Plaintiff Ronald Bernard (“Plaintiff”), pursuant to Fed. R. Civ. P. 56, and in

connection with that Motion enter an Order in Limine limiting the evidence to the

administrative record as stipulated to by the parties (Doc. 14).

       As set forth more fully in Defendant’s Suggestions in Support, which is filed

herewith and incorporated herein by this reference as if it were set out at length herein,

there are no genuine issues of material fact and Defendant is entitled to summary

judgment as a matter of law on Plaintiff’s claims.

       WHEREFORE, Defendant prays that the Court grant its Motion for Summary

Judgment and Motion in Limine, finding in favor of Defendant and against Plaintiff on all

claims, and granting to Defendant such other and further relief as the Court deems is

just and proper in the premises.




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                                          Respectfully submitted,

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                                                 ATTORNEYS FOR DEFENDANT


                               CERTIFICATE OF SERVICE

         I hereby certify that on October 31, 2019, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following:

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                                          /s/ Richard N. Bien
                                          An Attorney for Defendant




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